Case 1:17-cv-01942-WYD-MEH Document 40-1 Filed 12/15/17 USDC Colorado Page 1 of 4




                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

   Civil Action No. 17-CV-01942-MEH

   ROBERT JOHNSON,

           Plaintiff,

   v.

   TYLER SIMONSON, in his individual capacity;
   ST. MARY’S HOSPITAL & MEDICAL CENTER, INC., a Colorado nonprofit corporation; and
   HSS INC., a Colorado corporation,

           Defendants.



                                 PROPOSED PROTECTIVE ORDER
                                 PURSUANT TO FED. R. CIV. P. 26(c)


           The Court, having reviewed the parties’ Stipulated Motion for Protective Order

   Pursuant to Fed. R. Civ. P. 26(c), orders as follows:

           1. Confidential documents shall be produced, provided or otherwise disclosed to

    plaintiff within three (3) days from the entry of this Protective Order, and any confidential

    information shall be marked “Confidential” on the first page or cover of any document produced

    and subject to this order.

           2. The Confidential information shall be subject to the following restrictions:

                   a.     It shall be used only for the purpose of this litigation and not for any

   business or other purpose whatsoever;

                   b.     Its shall not be communicated or disclosed, either directly or indirectly, to

   anyone except for purposes of this litigation. If counsel or a party discloses the described

                                                    1
Case 1:17-cv-01942-WYD-MEH Document 40-1 Filed 12/15/17 USDC Colorado Page 2 of 4




   Confidential information to a third party for purposes of this litigation, the disclosing counsel or

   party shall be responsible for providing a copy of this Order to the third person, and such person

   must agree before receiving the Confidential information to be governed by the terms of this

   Order. If the third-party declines in any respect to be bound by the terms of this Order, then

   there shall be no disclosure of the Confidential information. However, in any expert report or

   deposition, the Confidential information may be referenced or cited as necessary to comply with

   the provisions of FED. R. CIV. P. 26 (a)(2) and 30.

                  c.       This Confidentiality stipulation shall not waive any party’s right to assert

   that materials are irrelevant or subject to privilege(s), justifying the party’s withholding the

   material from production or disclosure.

           3. A party may object to the designation of information as confidential by giving written

    notice to the party designating information as confidential. Objections shall identify which

    information is disputed. The disclosing party, the disputing party, and any other party with an

    interest in maintaining the confidentiality, shall make reasonable efforts within a reasonable

    time, to resolve the issue of confidentiality. If the issue cannot be resolved, the party disputing

    the designation of confidentiality may move this court for relief from this confidentiality order.

    The disputed information shall remain confidential pursuant to this order while the motion is

    pending. For purposes of any such motion, the designating party bears the burden of showing

    why, for good cause, the information should remain confidential.

           4. Individuals receiving the Confidential information as permitted by this Protective

   Order shall not divulge such information to any other, third person or entity unless authorized to

   do so by Court order.


                                                     2
Case 1:17-cv-01942-WYD-MEH Document 40-1 Filed 12/15/17 USDC Colorado Page 3 of 4




           5. No copies of Confidential Information shall be made, except by or on behalf of

   counsel in this litigation for work product purposes or for review by experts in this case. Any

   such copies shall be made and used solely for purposes of this litigation and subject to this Order.

           6. In the event it is necessary for the Parties to file Confidential Information with the

   Court in connection with any proceeding or motion, the filing party shall determine or confer as

   to whether the Confidential Information should be filed as a restricted document. The parties

   agree to make good faith efforts to confer in advance of submitting Confidential Information to

   the Court in order to resolve any disputes over whether access should be restricted and to provide

   a non-moving party the opportunity to file a motion. If the Parties agree access should be

   restricted, the Confidential information shall be filed as restricted. If the parties do not agree, and

   the matter cannot be resolved before the time of filing, the filing party shall file the information

   as restricted.

           7. The termination of this action shall not relieve counsel or other persons obligated

   from their responsibility to comply with this Protective Order.

           8.   Parties, by the production or receipt of the documents produced pursuant to this

   Order, adopt no position as to the authenticity or admissibility of documents produced.

           9. This Order shall govern the use and disclosure of the portions of the contract and any

   other materials marked as Confidential.

           10. Upon termination of this litigation, including any appeals, Plaintiff Johnson and his

   counsel shall immediately return to the producing party or shall destroy all Confidential

   information provided subject to this Protective Order.




                                                      3
Case 1:17-cv-01942-WYD-MEH Document 40-1 Filed 12/15/17 USDC Colorado Page 4 of 4




         DATED this _____day of                           , 201___.

                                            United States District Court Judge

                                            BY THE COURT:



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